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11                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
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14
15     HOOPA VALLEY TRIBE,                             Case No. 3:20-cv-05630-RS
16               Plaintiff,
                                                       DECLARATION OF LISA M. HOLM IN
17     v.                                              SUPPORT OF FEDERAL
                                                       DEFENDANTS’ MOTION TO STAY
18
19     UNITED STATES BUREAU OF
       RECLAMATION, et al.
20
21
                              Defendants.
22
23
24
25                                          DECLARATION

26   I, Lisa M. Holm, declare as follows:
27      1. I submit this declaration in support of the Federal Defendants’ Motion to Stay.
28
            the following facts are within my personal knowledge.
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1    2. I am employed as a Supervisory Repayment Specialist with the U.S. Bureau of
2       Reclamation (Reclamation) in the Department of the Interior, with an educational
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        background in Mechanical and Environmental Engineering. I have been employed by
4
        Reclamation since 2008. My current responsibilities include supervision of the water
5
6       rights and water supply contracting staff. In October 2019 I took over functional

7       responsibility for program-level management of the Water Infrastructure Improvements
8
        for the Nation Act (WIIN) contract conversions within the Central Valley Project.
9
     3. As the program manager of the WIIN Act contract conversions within the Central Valley
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        Project (“CVP”), I review for accuracy and completeness all contracts before they are
11
12      executed by the Regional Director of the California-Great Basin Region and I track the

13      status of all potential and completed contracts.
14
     4. At this time, Reclamation has CVP-related contracts with 234 local water contractors.
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     5. Of those, approximately 200 contractors hold contracts that potentially qualify for
16
17      conversion, and approximately 80 have requested that their contracts be converted

18      pursuant to the WIIN Act.
19   6. To date, Reclamation has converted 68 contracts pursuant to the WIIN Act and 21
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        contracts are in the process of being converted.
21
     7. Approximately 120 contractors have water service contracts or renewable term repayment
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23      contracts and have not requested conversion pursuant to the WIIN Act.

24      I declare under penalty of perjury that the foregoing is true and correct.
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